Case 1:19-cr-20163-RS Document 29 Entered on FLSD Docket 05/22/2019 Page 1 of 6
                                                               FILED BY. t      D.C.            t'
                                                                                       MAY 2 1 2019
                                                                                        ANGELA E. NOBLE
                            UNITED STATES DISTRICT COURT                               CLERK U.S. DIST. CT.
                                                                                       S. D. OF FLA. - MIAMI
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-20163-CR-WILLIAMS(s)
                                     18 u.s.c. § 1591
                                     18 u.s.c. § 2251
                                     18 u.s.c. § 1512(b)(3)
                                     18 U.S.C. § 1594(d) & (e)
                                     18 u.s.c. § 2253

UNITED STATES OF AMERICA

vs.

JASON GATLIN,

               Defendant.



                               SUPERSEDING INDICTMENT

       The Grand Jury charges that:

                                           COUNT 1
                                   Sex Trafficking of a Minor
                                       (18 u.s.c. § 1591)

       From in or around October 2018, through on or about November 30, 2018, in Miami-Dade

and Monroe Counties, in the Southern District of Florida, and elsewhere, the defendant,

                                       JASON GATLIN,

did knowingly, in and affecting interstate and foreign commerce, recruit, entice, harbor, transport,

provide, obtain, maintain, patronize, and solicit by any means a person, that is, MINOR VICTIM,

knowing, and in reckless disregard of the fact, and having had a reasonable opportunity to observe

MINOR VICTIM, that means of force, threats of force, and coercion, and any combination of such

means, would be used to cause MINOR VICTIM to engage in a commercial sex act, and MINOR



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VICTIM had not attained the age of 18 years and would be caused to engage in a commercial sex

act, in violation of Title 18, United States Code, Sections 1591(a)(l), (b)(l), (b)(2) and (c).

                                           COUNT2
                                Production of Child Pornography
                                       (18 u.s.c. § 2251)

       On or about November 11, 2018, in Monroe County, in the Southern District of Florida,

and elsewhere, the defendant,

                                        JASON GATLIN,

did employ, use, persuade, induce, entice, and coerce a minor to engage in sexually explicit

conduct for the purpose of producing any visual depiction of such conduct, and such visual

depiction having been produced using materials, that is, an Apple iPhone, that had been mailed,

shipped, and transported in and affecting interstate and foreign commerce by any means, including

by computer, in violation of Title 18, United States Code, Sections 2251(a) and (e).

                                            COUNT3
                                    Tampering with a Witness
                                     (18 u.s.c. § 1512(b)(3))

       In or around January 2019, in Miami-Dade County, in the Southern District of Florida, and

elsewhere, the defendant,                                                                           .•f
                                        JASON GATLIN,

did knowingly corruptly persuade another person, and attempted to do so, with intent to hinder,

delay, and prevent the communication to a law enforcement officer and judge of the United States

of information relating to the commission and possible commission of a federal offense, that is,    I
sex trafficking of a minor, in violation of Title 18, United States Code, Section 1591, and

production of child pornography, in violation of Title 18, United States Code, Section 2251; in

violation of Title 18, United States Code, Sections 1512(b)(3) and 2.
                                                  2
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                                                                                                         -,
                                 FORFEITURE ALLEGATIONS

       1.        The allegations of this Superseding Indictment are re-alleged and by this reference

fully incorporated herein for the purpose of alleging criminal forfeiture to the United States of

America of certain property in which the defendant, JASON GATLIN, has an interest.

       2.        Upon conviction of a violation of Title 18, United States Code, Section 1591 or

Section 1594, as alleged in Count 1 of this Superseding Indictment, the defendant shall forfeit to

the United States of America, pursuant to Title 18, United States Code, Section 1594(d) and (e)(1 ),

the following:

                 a. Any property, real or personal, used or intended to be used to commit or to

                    facilitate the commission of such violation; and

                 b. Any property, real or personal, which constitutes or is derived from proceeds

                    traceable to such violation.
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       3.        Upon conviction of a violation of Title 18, United States Code, Section 2251, as

alleged in Count 2 of this Superseding Indictment, the defendant, JASON GATLIN, shall forfeit




                                                                                                          II
to the United States any visual depiction, or any book, magazine, periodical, film, videotape, or

other matter which contains any such visual depiction, which was produced, transported, mailed,

shipped or received in violation of the law; any property, real or personal, constituting or traceable
                                                                                                          I
to gross profits or other proceeds obtained from such offense; and any property, real or personal,

used or intended to be used to commit or to promote the commission of such offense or any

property traceable to such property, pursuant to Title 18, United States Code, Section 2253.




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       All pursuant to Title 18, United States Code, Section 1594(d) and (e), Title 18, United

States Code, Section 2253 and the procedures set forth at Title 21 , United States Code, Section

853, as made applicable here by Title 28, United States Code, Section 246l (c) and Title 18, United

States Code, Section 2253(b).

                                             A TRUE BILL




                                             FOREPERSON




ASSISTANT UN ITED STATES ATTORNEY




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                                                  UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                              CASE N0.19-20163-CR-WILLIAMS(s)
 v.
                                                                      CERTIFICATE OF TRIAL ATTORNEY*
JASON GATLIN,
                                                                      Superseding Case Information:
                                  Defendant.

Court Division:
 ./    Miami
                  (Select One)
                                 Key West
                                                                      New defendant(s)
                                                                      Number of new defendants
                                                                                                  Yes
                                                                                                         o
                                                                                                               No                   I
       FTL                       WPB           FTP                    Total number of counts             3                          t
        1.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.         I am aware that the information supplied on this statement will be relied upon by the Judges of this
                   Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                   Act, Title 28 U.S.C. Section 3161.
        3.         Interpreter:    (Yes or No)               No
                   List language and/or dialect
        4.         This case will     take~          days for the parties to try.
        5.         Please check appropriate category and type of offense listed below:

                   (Check only one)                                            (Check only one)


                                                        ./
        I         0 to 5 days                                                  Petty
        II        6 to IO days                                                 Minor
        III       11 to 20 days                                                Misdem.
        IV        21to60 days                                                  Felony             ./

        v         61 days and over
        6.       Has this case previously been filed in this District Court?             (Yes or No)        No
         If yes: Judge                                     Case No.              ~~~~~~~~~~~~~~




         (Attach copy of dispositive order)
         Has a complaint been filed in this matter?         (Yes or No)         Yes
         If yes: Magistrate Case No.                         19-MJ-02314
         Related miscellaneous numbers:                      l 9-MJ-02048; l 8-MJ-3749; l 8-MJ-3750; l 8-MJ-3852
         Defendant(s) in federal custody as of              March 13, 2019
         Defendant(s) in state custody as of
         Rule 20 from the District of
         Is this a potential death penalty case? (Yes or No)

         7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                    prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No /

         8.         Does this case originate from a matter pending in      orthern Region U.S. Attorney's Office
                    prior to August 8, 2014 (Mag. Judge Shaniek      ynard)?        Yes            No .t                            J
                                                                                                                                    f




                                                                                 ssistant United States Attorney                    rt
 *Penalty Sheet(s) attached
                                                                               Florida Bar No. 0052716
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                                                                                                                                    l
                                                                                                                    REV 8/13/2018




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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET



      Case No:    19-20163-CR-WILLIAMS(s)

      Count#: 1

      Sex Trafficking of a Minor

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?
     Title 18, United States Code, Section 1591(a)(l) & (b)(l)

      *Min./Max. Penalties: Minimum of 15 years' imprisonment and maximum oflife imprisonment

      Count#: 2

     Production of Child Pornography

     Title 18, United States Code, Sections 2251(a) and (e)

     *Min./Max. Penalties: Minimum of 15 years' imprisonment and up to 30 years' imprisonment

     Count#: 3

     Tampering with a Witness

      Title 18, United States Code, Section 1512(b)(3)

      *Max. Penalty: 20 years' imprisonment

     *Refers only to possible term of incarceration, does not include possible fines, restitution,
     special assessments, parole terms, or forfeitures that may be applicable.
